6/2/23, 3:45 PM Case 1:19-cv-02232-TJK DOoCuUpmEMnteQ4xSvail -BobeoOS4ies/23 Pagelofi

&
— S Hadass Kogan <hadass.kogan@dish.com>
wy :

800 MHz Request

1 message

Jeffrey Blum <jeffrey.blum@dish.com> Mon, Mar 13, 2023 at 5:01 PM
To: Ashley Kaplan <Ashley.Kaplan@usdoj.gov>, Frederick. Young@usdoj.gov

Cc: Ted Ullyot <ted@twupsllc.com>, Hadass Kogan <hadass.kogan@dish.com>, Beverly Murdock
<bmurdock@stoneturn.com>, Mike Bonanno <mikebonanno@quinnemanuel.com>, Peter Benson
<peterbenson@quinnemanuel.com>, "mark.nelson" <mark.nelson@t-mobile.com>, "Scanlan, Melissa" <Melissa.Scanlan@t-
mobile.com>, Kathleen Ham <kathleen.ham@t-mobile.com>, Jeffrey Blum <jeffrey.blum@dish.com>

Ashley and Fred,

DISH is writing to request a 60-day extension of the 800 MHz Spectrum License Transfer provision of Section IV.B.1 of the
Final Judgment. To ensure the extension is effectuated in accordance with the existing commercial agreement approved
by the Division between DISH and T-Mobile, DISH also seeks a corresponding 60-day extension of the Filing Deadline in
Section 5.5(a) of the July 1, 2020 License Purchase Agreement (“LPA”).

DISH seeks this short term extension to, among other things, facilitate a discussion between Mike Sievert and Charlie
Ergen regarding DISH’s potential acquisition of the 800 MHz spectrum. This discussion is currently scheduled to occur
after the April 1, 2023 Filing Deadline in Section 5.5(a) of the LPA has passed.

For clarity, DISH requests an extension of the divestiture requirement of Section IV.B.1 of the Final Judgment from July 1,
2023 to August 31, 2023 “or within five (5) business days of the approval by the FCC of the transfer of the 800 MHz
Spectrum Licenses, whichever is later.” DISH also requests that the April 1, 2023 Filing Deadline be extended to June 1,
2023.

We understand that T-Mobile does not oppose these requests. Please let us know if you have any questions.

Thank you,
Jeff

Jeff Blum

EVP, External & Legislative Affairs
DISH

jeffrey.blum@dish.com
720-250-6973

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